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EXHIBIT B

Transcript Of The Search Warrant Application Hearing Held
Before The Honorable Julio Rodriguez, III, On May 28, 2015

 

 

 

 
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"APPLICATION FOR A SEARCH WARRANT

 

CRIMINAL COURT OF CITY OF NEW YORK.

COUNTY OF BRONX: CRIMINAL TERM: PART’ TP3

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FOR 2416 Webster Avenue, Apt. #18

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Bronx Criminal Court
265 East 16ist Street.
Bronx, New York. 10451

May 28, 2015 °

HONORABLE JULIO RODRIGUEZ, III,
Criminal Court Judge

BEFORE: ;

APPBARANCES:

FOR THE PEOPLE: wt.
ROBERT T. JOHNSON, ESQ.
- District Attorney, Bronx County .
‘ : BY: KARYN YUKELSON, "ESQ.
Assistant District Attorney
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NICOLE AMENEIROS, R.P.R.
Po Official Court Reporter

 
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MS. YUKELSON: For the record, I'm Assistant

Distxrict attorney Karyn Yukelsoh for the office o£ Robert
T. Johnson: The date is May seth, 2015. ‘The titre is now
12:30 p.m. We are present herel in the Bronx Hall of
Justice. Present are myself, the Honorable Judge ,

- Rodriguez,° TEL, a court stenographer, a ‘court officer and
Detective paris Lopez. Your Honor, we? re here before you
today, because we have an application for a Search warrant
at 2416 Webster Avenue, "Apartment 1S, as in Sandy. ;

TRE COURT: Swear the’ detective in, please. —
COURT OFFICER: Detective, raise your right hand,

please, .
t
Shield No. 487, New York City cote Department, Bronx
Narcotics, having been first duly gvorn, was. ‘examined and
testified as follows: | . ao .
DETECTIVE LOPEZ: Yes, six. . ;
- “court OFFICER: State: your name, shield, and
command for the record, please.,’
’ DETECTIVE LOPEZ:. Yes..: Detective Lopez, paris,
Shield 487, Bronx Narcotics,
THE couRr: All right, Detective Lopez, I have
before me a four-page affidavit in support of the People’ s

application for a search warrant authorizing the search at

2416 Webster Avenue; Apartment ,1S, as in Sam, here in Bronx

 
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LOPES: Mes SLE.

 PEPBCTIVE LOPEZ: Yeu, gli.”

THE. COURT: “Have youuséd this informant: inthe } *~

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DETECTIVE LOPEZ

 

THE COURT: Success: Obtaining search

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DETECTIVE LOPEZ:

 

  
 

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CQURT OFFICER: Raise your right hand.

 

‘CONFIDENTIAL: INFORMANT: Yes, sir.

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CONFLORNTIAL INFORMANT: “Yes, si.

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PRE COURT: Okay. Now, when was, the fixst. time
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& of. , «© CONFIDENTIAL tuvoRuane: When. I over there.

& Poe re, ‘THE COURT: ‘What date?

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23 + CONEIDENTIAN INEORMANE: © go to. 2616.

at of. MRE COURT: Okay. 2426 what?

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THE COURT:

      
 

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THE CQURT? ‘Ana yous

 

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25 Oo. RHE (COURT:. And then what did “yon. do onde you had: .

 
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CONFIDENTIAL INFORMANT: Yeah, he gaye nf{iiaaey

THE COURT: What did you do withig

  

’ CONFIDENTIAL INFORMANT: 288

back to Ms, Lapaz.

THE COURT: Okay. Why are you providing this —
information to the New York City Police, Department?

CONFIDENTIAL INFORMANT: Because they ‘pay me.

THE cour?: Okay. You uhderstand you're under
oath? woof

CONFIDENTIAL INFORMANT: Huh?

THE COURT: That you're under‘ oath? That you' ze

required to.tell the truth?

CONFIDENTIAL INFORMANT: «I'm telling the truth.

THE GOURT: You understand you are. under oath,’

right, in this proceeding? ,
CONFIDENTIAL INFORMANT: ‘Oh, yes. ‘|
THE COURT: You understand that there are .

consequences if it is.later determined that you did not

tell the truth, that you lied to this Court?

| " CONFIDENTIAL INZORMANT: Yes.’

THE COURT: What are some of those consequence?

CONFIDENTIAL INFORMANT: ‘They are going to give me

in jail.

 

THE COURT: Okay. Anything further?
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MS. YUKELSON: Not for this witness,
THE COURT:. All right. You may step out.
_ Let the record reflect that I found the
confidential informant to be credible and reliable. Based
on the information provided by the confidential informant

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and the affidavit of Detective Lopez, I find that. probable

‘gause exists to issue a search warrant, authorizing the

search ‘of 2416 Webster Avenue, Apartment 18, as in Sami,
which is clearly maxked, on the first floor, for contraband’
and any evidence tending to establish the ownership of the
premises and the connected persons found therein. Let the
record reflect I'm signing off on the seaxch warrant
itself. It is 12:39: People, do you have any application?

MS. YOKELSON: Yes, at this time, your Honor, 1

ask that any gender reference to the CI be stricken from

the record and be replaced with a gender neutral term “The

cr."

THE COURT: -That's granted.

- MS. YUKELSON: I also ask that your .Honor seal the

“minutes and the affidavit, except for one copy to be kept

by the Office of the District Attorney.

THE COURT: That's granted.

MS. YUKELSON:' And as included in the body of the

affidavit, .the People are seeking a No-Knock Provision to

 

, prevent the destruction of evidence and for the safety of

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Proceedings

the officers.

THE COURT: That's granted as well. This

concludes the proceedings.
é .¢
MS. YUKELSON: Thank you.

* * *- *

Certified to be a true and accurate transcript of the

- stenographic minutes taken within.

 

NICOLY M. AMENGIROS, R.P.R.
Official Court Reporter |

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